Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 1 of 12 PageID #: 111




                Exhibit F
          Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 2 of 12 PageID #: 112
                                                            Electrochemistry Communications 142 (2022) 107373


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Recent advances and challenges of current collectors for supercapacitors
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A R T I C L E I N F O                                    A B S T R A C T

Keywords:                                                Global energy and environmental issues are driving the development of modern advances in efficient and
Energy storage                                           environmentally friendly energy storage systems. Such systems must meet a range of requirements, which
Supercapacitor                                           include high energy and power density, long service life, flexibility, industrial scalability, security and reliability.
Current collector
                                                         Progressive achievements in the field of energy storage are associated with the development of various kinds of
Electric double layer capacitor
Pseudocapacitor
                                                         batteries and supercapacitors. Supercapacitors are state-of-the-art energy storage devices with high power
                                                         density, long lifespan, and the ability to bridge the power/energy gap between conventional capacitors and
                                                         batteries/fuel cells. However, supercapacitors have limitations associated with low energy density, which can be
                                                         solved by using various types of current collectors, since current collectors are one of the main massive com­
                                                         ponents of supercapacitors. This review gives a complete understanding of the effect of current collectors on the
                                                         actual performance and properties of supercapacitors. We reviewed current collectors based on carbon and
                                                         metal-containing materials, and supercapacitor configurations to identify possible improvements in electro­
                                                         chemical performance in terms of specific capacitance, energy density, power density, service life and variability
                                                         in their application.




1. Introduction                                                                             energy obtained from alternative sources but also in everyday human
                                                                                            life. Currently, lithium-ion batteries are the main driving force in the
    At present, the rapid pace of development of the world economy and                      energy storage sector. However, various types of batteries, such as
global environmental problems require the development of new revo­                          lithium-ion batteries, have a low power density, which limits their use in
lutionary strategies for solving energy problems [1–3]. Along with the                      various integrated power modules. Unlike batteries, which have a high
limited supply of fossil fuels, there has been an increase in the number of                 energy density, supercapacitors are of particular interest in terms of
electronic devices, which leads to an increase in energy demand. One of                     their high power density and long life (Fig. 1a, b) [6,7]. At the same
the solutions to these problems is the use of alternative energy sources,                   time, the use of various types of supercapacitors, such as electric double
such as solar and wind, which are environmentally friendly sources of                       layer capacitors, makes it possible to obtain high power, while another
energy and are increasingly being used [4]. Meanwhile, their significant                    type of supercapacitor, the pseudocapacitor, is best suited for obtaining
drawback is the dependence of energy production on external factors                         high energy density.
(presence or absence of sunny weather and wind). All this leads to the                          Modern achievements in the field of supercapacitors, as well as for
fact that alternative energy sources should be used in conjunction with                     batteries, are mainly associated with active electrode materials such as
modern technologies for efficient energy storage [5]. Modern advances                       activated carbon [8], graphene [9], carbon nanotubes [10,11], nanorods
in the commercial production of batteries and supercapacitors (also                         [12–14], MXene [15–17], and silicon oxide [18–20]. Therefore, many
called ultracapacitors) are used not only to solve the problem of storing                   research and review articles on active electrode materials have been


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nc-nd/4.0/).
         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 3 of 12 PageID #: 113
A. Abdisattar et al.                                                                                                  Electrochemistry Communications 142 (2022) 107373


published in recent decades. Much effort has been put into reviewing the              supercapacitors, as well as how and by what means their efficiency can
active electrode materials and electrolytes of supercapacitors. However,              be improved, is an acute issue.
to the best of our knowledge, few reviews on current collectors have
been published so far, and only a limited number of materials or designs              2. The principle of operation of supercapacitors
are considered [21]. Current collectors, along with active electrode
materials, are one of the main massive components (~15–20 % of the                        Supercapacitors are electrochemical capacitors with a high energy
total weight of a supercapacitor cell), which significantly influence the             density, which is hundreds of times greater than that of conventional
gravimetric/volumetric specific energy density, power density, and                    electrolytic capacitors. Unlike conventional capacitors where charges
long-term cycle stability. This brings us to the need for a more                      are accumulated electrostatically, for supercapacitors, the accumulation
comprehensive overview of current collectors.                                         of charges occurs as a result of electrostatic double-layer capacitance
    The key players in the supercapacitor market are the AVX Corpora­                 (EDLC) and electrochemical pseudocapacitance between the electrodes
tion, SPEL Technologies Private Limited, Tesla, Nippon Chemi-Con,                     of the capacitor and the electrolyte [33]. These reactions are surface
Skeleton Technologies, CAP-XX, LS Mtron, Ioxus Inc., Evans Capacitor                  interactions, indicating that an increase in specific surface area leads to
Company, KORCHIP Corporation and Panasonic Corporation. Most of                       an increase in charge accumulation. Supercapacitors are systems con­
these companies produce supercapacitors based on carbon electrodes                    sisting of two electrodes (anode and cathode), an electrolyte and a
with organic electrolytes and aluminum current collectors. Previous                   separator. Charge storage in the case of EDLC occurs predominantly at
research studies on the supercapacitors with such configuration have                  the electrode, and electrolyte ions are adsorbed at the electrolyte/elec­
shown that after a certain number of charge–discharge cycles the carbon               trode interface, while the separator acts as a semipermeable membrane
layer often peels off from the smooth metallic current collector resulting            that allows ion transport and prevents short circuiting of the device. The
in poor electrochemical performance. In order to avoid the peeling effect             supercapacitor electrode includes a current collector and an active
of the carbon layer from aluminum current collectors, recently manu­                  electrode layer coated on the surface of the current collector. The cur­
facturers are starting to use modified current collectors such as etched              rent collector serves to efficiently transfer electrons from the active
aluminum foil and carbon-coated Al foil instead of smooth foils. Such                 material to external power sources or electrical appliances.
modifications of the current collectors increases the strength of the bond                To date, there are three main types of supercapacitors that have
between the active electrode material and the current collector and                   different mechanisms of charge accumulation (Fig. 2a, b, c): electro­
maintains a stable operation over hundreds of thousands of char­                      static double-layer supercapacitors (EDLCs) [34], hybrid capacitors
ge–discharge cycles [23,24]. The current collector is an indispensable                [35,36], and redox supercapacitors or pseudocapacitors [37,38]. For
component bridging supercapacitor and external circuit (power sources                 EDLCs, the accumulation of charges occurs as a result of the formation of
or electrical appliances), as well as the supporting substrate for loading            an electric double layer due to electrostatic attractive forces that attract
the active electrode material, greatly influencing the capacity, rate                 electrolyte ions to the surface of the electrodes. The electric voltage on
capability, heat transfer property, and long-term stability of                        the electrodes leads to the formation of one layer of charge, while to
supercapacitors.                                                                      compensate for this layer, ions of opposite polarity from the electrolyte
    Compared to batteries, supercapacitors do not have a wide range of                accumulate on the surface of the electrodes, forming a second ionic layer
applications due to the two limiting factors of low energy density and                [39]. Between these two electrical layers are the solvent molecules (the
high cost [25,26]. One possible solution to increase the energy density               Helmholtz plane).
and reduce the cost of a supercapacitor is to develop new types or                        Due to the significant difference in the geometric dimensions of
improve the existing types of current collectors along with active elec­              electrons and ions, the density of the electron layer on the electrode
trode materials used for supercapacitors. The growing interest in various             surface is higher than that for the second ion layer. At the same time, the
materials used for supercapacitor current collectors is indicated by a                electrode potential changes linearly and becomes exponentially depen­
number of research articles that have made it possible to consider the                dent when approaching the diffusion layer. This charge accumulation
prospects and problems of choosing the type of material for super­                    mechanism makes it possible to achieve a high speed for the charge/
capacitor current collectors [27–32]. All this indicates that the choice of           discharge cycle, while the service life is higher compared to other types
current collector has a significant impact on the efficiency of both                  of supercapacitors, and because no chemical reactions occur during the
supercapacitors and various types of batteries. To the best of our                    charge/discharge process, the structure of the electrodes remains un­
knowledge, there are currently no review articles on this issue. From this            changed. Thus, EDLCs are characterized by a long service life, and the
point of view, we believe that today, the issue of a comprehensive and                specific surface area of the active material affects the capacitive char­
detailed analysis of materials used as current collectors for                         acteristics of the supercapacitor.




Fig. 1. (a) Energy and power density for different types of energy-storage devices (supercapacitors, fuel cells, conventional capacitors, and a typical battery); (b)
Comparison of the electrochemical behaviour of a typical supercapacitor and a typical battery. Reprinted with permission from [22].

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         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 4 of 12 PageID #: 114
A. Abdisattar et al.                                                                                                 Electrochemistry Communications 142 (2022) 107373




Fig. 2. Schematic illustration of (a) an electrical double-layer capacitor (EDLC); (b) pseudocapacitor (PC); (c) hybrid supercapacitor; (d) exploded view of a wound
supercapacitor. Reprinted with permission from [40].


    In contrast to EDLCs, the mechanism of charge accumulation for                   the parameters such as high specific capacitance, speed of charge and
pseudocapacitors is the so-called surface Faradaic electron charge-                  discharge cycles, and their stability. For example, carbon materials
transfer reaction [41]. These reversible reduction and oxidation re­                 (activated carbon, graphene, carbon nanotubes, etc.) are widely used as
actions take place on the electrodes of the capacitor and largely deter­             electrodes for EDLCs, with transition metal oxides (RuO2, MnO2, CoOx,
mine its service life, since long-term chemical reactions during fast                NiO, Fe2O3) and reports on the use of MXene and various composites
charge and discharge cycles can cause structural changes in the elec­                being based on them. In addition, manufacturers pay attention not only
trode [42]. The ongoing reactions are not accompanied by chemical                    to the active electrode material but also to the current collector, which is
transformations in the electrode material itself, but due to redox re­               one of the main key components of a supercapacitor that affects the
actions, adsorption and intercalation, the process of charge transfer                overall specific parameters.
occurs. Therefore, materials with a mesoporous structure are preferable
for the electrode material, which has a positive effect on the diffusion of          3. Main requirements for current collectors in supercapacitors
electrolyte ions during charge transfer reactions [43]. Various types of
materials are currently used as electrodes, including polymers with high                 The efficiency of supercapacitors is determined by the choice of
electronic conductivity, metal oxides, and their composites [44–47].                 active electrode material, electrolyte, separator, and current collector.
Pseudocapacitors are characterized by high energy density and high                   Each component plays a role and largely determines the characteristics
capacitance values. Unlike EDLCs, pseudocapacitors have a fairly low                 of the supercapacitor. For example, the internal resistance of a super­
power density.                                                                       capacitor is affected by the conductivity of the electrode material and
    Unlike EDLCs and pseudocapacitors, the hybrid supercapacitor has                 the current collector, as well as the resistivity of the electrolyte and the
electrodes made from two different types of materials. In addition, the              thickness of the separator.
mechanism of charge accumulation includes both the formation of a                        The ideal current collector should have high electrical conductivity,
double electric layer and Faradaic reactions [48]. This allows hybrid                low contact resistance with the active electrode material, stable and
supercapacitors to have high energy density, low self-charging rate and              strong bonding strength with the active electrode material, high specific
high specific capacitance compared to symmetrical capacitors. The use                surface area, high mechanical strength/modulus, low weight, high
of different materials as electrodes allows the use of the advantages of             thermal stability, high electrochemical stability, and environmental and
both EDLCs and pseudocapacitors, and the combination of these two                    cost aspects must be considered. To date, metal current collectors (foil,
charge storage mechanisms makes it possible to obtain capacitors with                porous metal) and current collectors based on carbon materials have
high energy density and power.                                                       been widely used in supercapacitors. However, there are general criteria
    As a rule, in the manufacture of supercapacitors, special attention is           for selecting current collectors, regardless of the properties of the
given to the choice of material for the electrode, which mainly affects              supercapacitor, to ensure its high efficiency and stable operation:


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         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 5 of 12 PageID #: 115
A. Abdisattar et al.                                                                                             Electrochemistry Communications 142 (2022) 107373


1. High electrical conductivity. Current collectors provide efficient             capacitance, has high stability at high cell voltages and long cycles of
   transfer of electrons to external circuits, which depends on their             work, and has good conductivity, comparable to a platinum current
   conductivity. In addition, the charge/discharge process may be                 collector. At the same time, the disadvantage of such carbon fibres is the
   accompanied by heat generation at the current collector with low               high cost and scalability of the method, which limits its possible com­
   conductivities. For the operation of a supercapacitor, not only the            mercial application.
   conductivity of the current collectors is important, but also the                  Another promising carbon material for current collectors is
   electronic resistance at the boundary between the current collector            conductive carbon paper. Yes, Peihui Luo and Lily Huang [56] demon­
   and the active electrode layer. The electronic resistance of current           strated a simple method for making electrodes from graphene hydrogel
   collect is typically negligible especially for metallic current collec­        and carbon paper, which was used as a current collector. Due to its high
   tors. Physico-chemical modification of the current collector surface           porosity and high electrical conductivity, graphene hydrogel electrodes
   and deposition of an additional intermediate layer between the                 using carbon paper as a current collector showed a high gravimetric
   active electrode layer and the current collector are the possible so­          capacitance of 294F/g at a current density of 1.18 A/g, which remained
   lutions for reducing the electronic resistance at the interface between        at 66 % (193F/g) even with increasing current density up to 28.24 A/g.
   the current collector and the active electrode layer.                          Along with carbon paper, for the manufacture of disposable, nontoxic
2. Electrochemical stability. Insufficient resistance of current collectors       and flexible supercapacitors, graphite foil is also used as an effective
   to reactions occurring during the processes of charge and discharge            current collector material (activated carbon as the active material).
   can lead to an undesirable decrease in capacitance characteristics             Maede Arvania and others [52] showed that graphite foil can be used as
   and a reduction in the service life of supercapacitors. The choice of          a current collector. However, studies indicate the effect of the porosity of
   current collectors and their modifications is carried out mainly               the current collector on the chemical stability of the supercapacitor. For
   depending on the type of electrolyte and the electrode material (and           example, graphite foil (150 µm thick) showed high capacitance and low
   the method of its integration with the current collector).                     equivalent series resistance (ESR) but poor chemical stability. Presum­
3. Mechanical strength. Another important parameter is the mechani­               ably, this behaviour is explained by the influence of oxygen, which leads
   cal strength of the current collector, as it maintains a stable                to oxidation and evaporation of the electrolyte, leading to a decrease in
   connection between the electrodes and their integrity during                   mass and an increase in leakage current.
   charging and discharging. Current collectors are not only a charge                 Another carbon material used as a current collector is carbon
   transfer channel between the active electrode layer and the external           nanotubes. Michel dos Santos Clem et al. [57] used poly(3,4-
   circuit, but also a supporting carrier substrate, the mechanical               ethylenedioxythiophene)-poly(styrenesulfonate) (PEDOT:PSS) ink with
   properties of which are very important in the production of super­             the addition of multiwalled carbon nanotubes (MWCNTs). In this work,
   capacitor cells and the cell operation in harsh conditions.                    the composite ink was screen printed on filter paper and used as both an
4. Optimal density. An important factor is the optimal mass ratio of the          active electrode material and a current collector (Fig. 2a, b). Such a
   active electrode material loaded on the current collector to the mass          supercapacitor exhibits a capacity retention of up to 72 % after 1000
   of the current collector, since the current collectors are an inactive         cycles with a specific capacitance of 20.3F⋅g− 1 at a current density of 1
   component. However, current collectors account for about 15-20 %               mA⋅g− 1 at an energy density and power of 3.1 W⋅h/kg and 420 W/kg,
   of the total weight of the supercapacitor. An increase in the ratio of         respectively.
   the active electrode material mass to the current collector mass                   Printing technology is also being used for other types of carbon
   contributes to a decrease in the total mass of the supercapacitor and,         materials, such as graphene filaments as current collectors (graphite
   consequently, to an increase in the specific energy density of the             oxide is the active material). S.A. Baskakov et al. [58] demonstrated a
   supercapacitor.                                                                supercapacitor based on graphene oxide, where a graphene filament was
5. Sustainability and cost. The choice of material for the current col­           used as a current collector (Black Magic 3D) made in the form of a
   lector also depends on its cost, availability, and possible recycling.         composite of polylactic acid (PLA) with the addition of carbon nano­
   These factors are of decisive importance not only in terms of com­             materials with high conductivity. On the other hand, the laser writing
   mercial interest but also as an environmentally friendly recycling of          method is also used to make high-capacitance supercapacitors by con­
   used current collectors and the supercapacitors themselves.                    verting graphene oxide into porous graphene films, which is current
                                                                                  collector free active material [59]. Yes, Cho E - C et al. demonstrated a
4. Materials for current collectors                                               simple and scalable method for obtaining graphene-based super­
                                                                                  capacitors with a large working area (4 × 4 cm2) using an infrared CO2
4.1. Carbon-based current collectors                                              laser. Such a supercapacitor has reversible capacitances of 115.2, 97.0
                                                                                  and 78.4F/g at current densities of 0.5, 2 and 6 A/g, respectively, and
    Metal current collectors are widely used for the manufacture of               only slight capacity loss after 4000 charge/discharge cycles and 2000
supercapacitors; however, they have a number of significant disadvan­             bending cycles, indicating high cycle life and mechanical stability
tages associated with corrosion, high interfacial resistance between the          (Fig. 3a-d). Although the use of graphene films makes it possible to
metal current collector and the active electrode material, the charac­            achieve high capacitance values and good mechanical stability in com­
teristic low gravimetric energy density of the entire cell and the                parison with metal current collectors, their use for the manufacture of
impossibility of creating flexible supercapacitors, which are of great            supercapacitors with large areas is extremely difficult due to the use of
interest from the point of view of their potential applications [49–51].          lithography technology.
On the other hand, unlike metal and metal-containing current collectors,              Graphene is also used as a current collector for supercapacitors.
the use of carbon materials as current collectors makes it possible not           Pourjavadi et al. [60] used porous graphene as a current collector to
only to obtain flexible supercapacitors but also to reduce the interfacial        accommodate carbon fibre-functionalized polyaniline to make a stand-
resistance between the active electrode material and the current col­             alone supercapacitor electrode. The specific capacitance for this type
lector [52–54]. For example, the use of conductive carbon fibres as a             of supercapacitor was 1.42F/cm2 (710F/g) at a current density of 4 mA/
current collector for EDLCs produced from polymerized ionic liquids               cm2 (2 A/g), while the capacitance of the electrodes decreased to 44.4
(PILs) by electrospinning demonstrates excellent charge storage pa­               and 96, respectively, 8 % of the initial values after 1000 cycles, and lost
rameters (commercial Ketjen black carbon as the active material), su­             ~ 30 % of its initial capacity at bending angles of ~ 120◦ , which once
perior to EDLCs based on carbon-coated aluminium foil [55]. At the                again indicates the prospects for the use of carbon materials for the
same time, an EDLC with a current collector based on carbon fibres can            production of flexible supercapacitors.
operate at a current density of up to 40 A/g without a significant loss in            We should also note the difficulties associated with the multilayer

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         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 6 of 12 PageID #: 116
A. Abdisattar et al.                                                                                               Electrochemistry Communications 142 (2022) 107373




Fig. 3. (a) and (b) Digital photograph of polyimide-derived graphene (PIDG) patterned on a polyimide substrate; (c) and (d) SEM image and corresponding EDS
mapping of the PIDG pattern; (e) and (f) digital images of screen-printed graphene-microsupercapacitors (SPG-IMSC); (g) Demonstration of a letter-shaped SPG-IMSC
pack for powering 3 LCDs; (h) Demonstration of powering a sports watch with a SPG-IMSC pack connecting 8 cells in series; (i) Synthesis and self-assembly of the
MnO2 nanostructures onto the surface of the 3D-printed polymer network; (j) SEM images of 3D-printed polymer/MnOx hybrid materials. Reprinted with permission
from [59,61,62].


structure of supercapacitors, made in the form of a sandwich structure.             effect of the substrate mass, and the use of electrophoretic deposition on
The use of two substrates leads to a noticeable increase in volume and              graphene airgel as a current collector (manganese and iron oxides were
mass, which directly affects the gravimetric and volumetric capacities.             used as the active materials) makes it possible to create a bulk structure
This often results in the need for additional metal connections in the case         [65]. Such electrodes have a high gravimetric capacitance normalized to
of series and/or parallel connections of several supercapacitors to in­             the total mass of the active material and current collector (mt) and
crease the voltage or capacitance. All this has led to the need for                 amount to 143F/g. With such a structure, it is easy to avoid the excess
developing microsupercapacitors, which consist of interdigitated elec­              mass of the current collector. When layer-by-layer deposition of the
trodes on a single substrate, obtained by screen printing. This structure           active material occurs on the current collector, some layer of the current
provides a narrow space between the cathode and anode, which in turn                collector will not interact with the active material but only the surface
leads to short circuit prevention and improved mechanical stability and             layer. This case is clearly demonstrated with metal current collectors, as
flexibility. As evidenced by a study on the fabrication of graphene-based           evidenced by the electrochemical performance of nickel foam, which is
(actuating both as current collector and active material) tandem                    superior to that of nickel foil. Therefore, metal-free supercapacitors with
microsupercapacitors, which have a high capacitance (3.16 mF/cm2) at                a carbon-based current collector have good flexibility, making them
a scan rate of 500 mV/s1, and demonstrating outstanding cyclic stability            suitable for microelectronics applications. However, attempts to obtain
with a capacitance retention of 91.1 % after 10,000 cycles [63]. At the             an electrode with large areas and capacitance lead to capacitance losses
same time, this screen printing method allows one to simultaneously                 and an increase in resistance, which makes them unsuitable when large
print a large number of microsupercapacitors (from 100 to 1000) in a                capacitances and power are needed.
few seconds using graphene ink (actuating both as current collector and                 Table 1 summarizes data on carbon-based current collectors,
active material) [61]. At the same time, a tandem battery pack, con­                including their fabrication methods; mechanical characteristics such as
sisting of 130 of these microsupercapacitors, allows one to obtain an               flexibility and stretchability; and electrochemical characteristics of
output voltage of more than 100 V, which indicates excellent modularity             these supercapacitors in terms of capacitance, impedance properties,
(Fig. 3e-h). Screen printing allows the fabrication of stable super­                rate capability and cyclic stability.
capacitors, as evidenced by a systematic study of a large set of super­
capacitors [64]. In this case, the current collectors and active layers in
the supercapacitors under study were printed with paints from carbon                4.2. Current collectors based on metal with various modifications
materials such as graphite and activated carbon. It has been found that
the best choices for using such devices are applications where low cur­                 Metal current collectors, in contrast to carbon and polymer mate­
rents (<1 mA) are sufficient, such as in distributed sensors.                       rials, attract special attention due to their high conductivity and low
    In addition to screen printing, 3D printing is also being used,                 cost. At the same time, they provide mechanical integrity and flexibility.
allowing the fabrication of complex and adaptable 3D carbon structures              However, as noted above, one of the main factors limiting their use is the
in combination with bondless self-assembling nanostructures. At the                 corrosion of metal current collectors in a water-based electrolyte. At the
same time, such supercapacitors have a good charge rate and demon­                  same time, recent advances in the field of supercapacitors are mainly
strate high gravimetric and surface capacitances (186F/g and 968 mF/                associated with aqueous electrolytes, which, in comparison with other
cm2, respectively) (Fig. 3i, j) [62]. On the other hand, as noted above,            types (organic electrolytes, ionic liquids and water-in-salt electrolytes),
one of the limiting factors of traditional supercapacitors is the negative          allow reaching high values of power density up to 10 kW/kg. An analysis
                                                                                    of the available literature has shown that to solve this problem, methods

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         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 7 of 12 PageID #: 117
A. Abdisattar et al.                                                                                                           Electrochemistry Communications 142 (2022) 107373


Table 1
Carbon-based current collectors.
  Year      Current           Active material   Capacitance       Impedance       Electrolyte      Method               Rate             Cyclic       Flexibility or     Ref.
            collector (CC)                                        (Rct and Rs,                                          capability       stability    Stretchability
                                                                  Ohm)

  2019      carbon fibers     Ketjen black                        Impedance       1 M Na2SO4       electrospinning      –                –            –                  [55]
                              carbon                              < 1.5                            and cross-linking
  2020      carbon paper      graphene          294F/g at 1.18    Rct < 2         1 M KOH          hydrothermal         66 %             –            –                  [56]
                              hydrogel          A/g, 193F/g at                                     treatment (of        retention at
                                                28.24 A/g                                          active material)     28.24 A/g
  2020      graphite foil     activated         0.326             ESR = 1.3       NaCl:DI          printing             –                –            –                  [52]
            T68A              carbon                                              water = 1:5      technology
  2020      graphite foil     activated         0.361             ESR = 1.3       NaCl:DI          printing             –                –            –                  [52]
            Sigraflex         carbon                                              water = 1:5      technology
  2018      PEDOT:PSS/        PEDOT:PSS/        20.3F/g at 10-3   Rs = 58,3 Rct   gel-like         screen printed       –                72 %         –                  [57]
            multiwall         multiwall         A/g               = 2.762         electrolyte                                            after
            carbon            carbon                                              (PVA/                                                  1000
            nanotube ink      nanotube ink                                        H3PO4)                                                 cycles
  2017      polymer-nano-     PANI              250F/g at 20      –               1 M H2SO4        printing             –                –            –                  [58]
            carbon                              mV/s                                               technology
  2020      porous            porous            115.2 at 0.5 A/   Rct = 66.8      1 M H2SO4        laser technology     –                slight       Slight losses      [59]
            graphene-         graphene-         g, 78.4 at 6 A/                                                                          losses       after 2000
            PEDOT             PEDOT             g                                                                                        after        cycles
                                                                                                                                         4000
                                                                                                                                         cycles
  2018      porous            carbon            710F/g at 2 A/    Rct = 3         1 M H2SO4        chemical vapor       –                96.8 %       –                  [60]
            graphene          fibers@PANI       g, 1.42F/cm2                                       deposition                            after
                                                at 4⋅10 -3 A/                                                                            1000
                                                cm2                                                                                      cycles
  2017      exfoliated (EG)   exfoliated (EG)   4.9 mF/cm2 at     ESR = 180       H2SO4/PVA        printing             64.6 % at 500    91.1 %       –                  [63]
            planar            planar            2 mV/s                                             technology           mV/s             after
            graphene          graphene                                                                                                   10,000
  2017      mesoporous        mesoporous        7.6 mF/cm2 at     –               H2SO4/PVA        printing             –                80.9 %       –                  [63]
            polyaniline       polyaniline       2 mV/s                                             technology                            after
            graphene          graphene                                                                                                   5000
                                                                                                                                         cycles
  2022      3D pyrolytic      Mn3O4             186F/g or 968     Impedance       1 M H2SO4        3D printing          –                >92 %        –                  [62]
            carbon                              mF/cm2 at         > 140                                                                  after
                                                0.5* 10-3 A/                                                                             5000
                                                cm2                                                                                      cycles
  2018      reduced           MnO2              274 mF/cm2        Impedance       0.5 M            hydrothermal         above 50 % at    –            –                  [66]
            graphene oxide    nanotube          or 137F/g at 2    > 20            Na2SO4           method               100 mV/s
            aerogel                             mV/s
  2018      reduced           Fe2O3             286 mF/cm2        Impedance       0.5 M            hydrothermal         above 50 % at    –            –                  [66]
            graphene oxide    nanotube          or 143F/g at 2    > 20            Na2SO4           method               100 mV/s
            aerogel                             mV/s
  2017      PF407C            activated         200 – 360 mF      ESR from 7.9    NaCl             printing             –                –            –                  [64]
            graphite          carbon            at 1 mA           to 12.7                          technology
  2018      paper-based       polypyrrole       177.8F/g          Rs≈3            1 M H2SO4        brush-painting       from 510.3 to    >94.9 %      –                  [67]
            expanded          (PPy)                                                                                     329.7 mF/        after
            graphite (EG)                                                                                               cm2 retention    5000
                                                                                                                        from 1 to 10     cycles
                                                                                                                        mA/cm2
  2021      graphite tape     MnO2              577.5 mF/cm2      Rs = 39.2       3 M LiCl         peeling off a thin   about 33 %       78 %         97 % after 1200    [68]
                                                or 91.7F/g at                                      graphite layer       retention at     after        cycles of
                                                0.5 mA/cm2                                         with a tape          10 mA/cm2        5000         bending to 180◦
                                                                                                                                         cycles
  *
    In the Tables 1 and 2, impedance means the sum of charge transfer resistance, solution resistance and diffusion layer. Impedance was used in the cases when
authors provided EIS spectra but did not specify its parameters. Rct – charge transfer resistance, Rs – solution resistance. The ESR was derived from IR drop of GCD
curve.


are used based on the use of expensive corrosion-resistant metals                                Ordinary graphite can be used as a carbon material, the hydrophobic
(platinum, nickel, stainless steel), conductive composites based on                          layer of which is deposited on aluminium foil to improve the interfacial
metals and carbon materials, and modification of metal current collec­                       contact between the active material and the current collector [70]. The
tors by physical and chemical treatment (laser irradiation, chemical and                     deposited graphite layer has high adhesion and highly ordered packing
electrochemical deposition) (Fig. 4) [69]. In addition, research in this                     on aluminium foil, which makes it possible to create a strong interfacial
field shows that after a certain number of charge–discharge cycles, the                      contact between the active material layer and the modified current
carbon layer often peels off from the untreated smooth metallic current                      collector without voids. In addition, graphite helps to suppress the for­
collector in activated carbon-based supercapacitors with organic elec­                       mation of a resistive oxide film on the surface of the aluminium foil and
trolytes resulting in declined electrochemical performances. All these                       suppresses corrosion, which makes it possible to achieve high capaci­
publications indicate the prospects for improving metal current collec­                      tance values and improved cycle life. The surface of aluminium current
tors by modifying both physicochemical methods and carbon materials,                         collector was treated by laser which reduced oxygen content and lead to
which help suppress corrosion, improve interfacial contact and reduce                        a better interaction with active material. 95 % capacitance retention was
internal resistance.                                                                         demonstrated by the aluminium current collector protected with


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         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 8 of 12 PageID #: 118
A. Abdisattar et al.                                                                                                 Electrochemistry Communications 142 (2022) 107373




Fig. 4. a) Schematic illustration of the PPy/Au LV network electrode fabrication process and of the device structure; b) photograph of supercapacitor, demonstrating
high transparency; (c) schematic of the graphene electrode fabrication process; (d) the Ag grid film, and the sintered Ag nanoparticles; (e) SEM and EDS mapping
images of the Au grid and retention rate by mechanical bending of the GG sample (inset: photograph of the Au/Ag grid supercapacitor bent around a lab vial); (f)
schematic illustration for the fabrication of Cu@Ni/porous Ni/MnCo2O4 electrodes; (g) SEM images of 3D porous Ni skeletons of Cu@Ni/porous Ni, and Cu@Ni/
porous Ni/MnCo2O4; (h) SEM images of nanostructured MnO2 under 80 ◦ C with different reaction times on Au film and Pt@Au film; schemes of MnO2 nucleation
model on Au substrate and on Pt@Au substrate. Reprinted with permission from [69,78,82,83].


commercial graphite ink Acheson Electrodag 965SS after 950 days of                   This approach makes it possible to achieve not only high corrosion
test [52]. There are several research papers in which the authors have               resistance due to the presence of functional groups in graphene oxide,
used commercial carbon-coated aluminum foil, also called conductive                  but at the same time, such a supercapacitor demonstrates a retention of
coated aluminum foil, as a current collector to improve the performance              70 % after a cyclic tensile test (~10,000 cycles, 40 % elongation) and 60
of supercapacitors [71,72].                                                          % after an additional cyclic charge–discharge test (3000 cycles).
    Carbon-coated aluminum foil can maintain long-term electro­                          Another modification method is the physical treatment of metal
chemical stability on a platform with a higher voltage than pure                     current collectors; for example, picosecond laser action on aluminium
aluminum, can withstand long-term immersion in electrolyte, has                      current collectors contributes to an increase in the capacitance of
excellent surface contact ability, can provide excellent interface con­              supercapacitors up to 110.1F/g, which is due to the removal of the oxide
ductivity, can withstand the stress generated during the long-term cycles            layer and an increase in contact with the electrode [32]. At the same
of the supercapacitor.                                                               time, such processing of the current collector led to an improvement in
    Along with graphite, the use of carbon nanofibres has also been re­              the cyclic stability of the supercapacitor due to a stronger contact with
ported, which, due to their high surface area and simple preparation                 the electrode and prevention of delamination. Electrochemical etching
methods, are attractive for modifying metal current collectors. X. Chen              modifications have also been reported for nickel current collectors,
et al. demonstrated a simple method for obtaining the electrode based                which, although characterized by high power density, fast charge/
on the electrospinning of MnO-polymer nanofibres followed by elec­                   discharge cycles and long life, have a flat surface that leads to cyclic
trochemical 3D printing of a strictly controlled current collector of                instability. Improving its characteristics is possible by modifying its
copper layer onto a composite [73]. This leads to a significant increase in          surface structure to create a larger area of contact with the electrode
the electronic conductivity of the electrode (by>360 %) and an increase              material. This is evidenced by the studies carried out in [75], which
in specific capacitance (by 110 %), which is presumably based on a                   show that nickel foam has higher electrochemical characteristics, reac­
decrease in interfacial resistance due to carbon fibres. Graphene oxide is           tion reversibility, higher pseudocapacitance and weaker polarization in
also used to create modified composite current collectors with metals.               comparison with the nickel grid. A simple electrochemical etching
One such example is the GO@AgNW (active material is activated car­                   method can be used to achieve these goals, while functionalization of the
bon) flexible current collector composite, which is synthesized by                   surface of the nickel current collector can significantly increase the
sputtering silver nanowires onto the surface of graphene oxide [74].                 capacitance characteristics of commercial electrode material (activated


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         Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 9 of 12 PageID #: 119
A. Abdisattar et al.                                                                                              Electrochemistry Communications 142 (2022) 107373


carbon) up to 210F/g at a current density of 0.5 A/g and cycle stability            fabrication methods; mechanical characteristics such as flexibility and
of 89 % after 10,000 cycles [76].                                                   stretchability; and electrochemical characteristics of these super­
    Nickel can also be used as nanospheres up to 400 nm in diameter                 capacitors in terms of capacitance, impedance properties, rate capability
chemically deposited on the surface of filter paper, which exhibits                 and cyclic stability.
excellent electrical and mechanical properties: the surface resistance is
2.7 O/cm2 (Ro = 0.8 O/cm2) after 5000 bending cycles, and the mass                  5. Conclusions
density is only 0.35 g/cm3 [77]. The porosity achieved due to the nickel
metal layer provides a large area of contact with the active material,                  In this review, we have detailed and summarized the latest advances
which has a positive effect on the capacitance characteristics. In contrast         in the development and application of current collectors for next-
to the thin layer of nickel nanospheres, dense double layers are advan­             generation supercapacitors with longer lifetimes, greater environ­
tageous in terms of the high corrosion resistance of the nickel coating.            mental friendliness and lower costs, as well as the ability to match
This kind of coaxial composite current collector has excellent flexibility          properties depending on the application. To achieve these goals, it is
and mechanical strength and allows us to obtain a high capacitance of up            necessary to pay attention to the fact that the current collector does not
to 20.6 mF/cm and an energy density of 4.8 μWh/cm at a power density                increase the total capacitance of the supercapacitor but allows the
of 32.25 μW/cm (Fig. 4f, g) [78].                                                   capacitance of the active material to be maximized. At the same time, a
    Unlike nickel-plated current collectors, the use of three-dimensional           well-designed structure of the current collector and the electrode as a
(3D) porous nickel coated with nickel hydroxide has a number of ad­                 whole improves the energy and power density of the supercapacitor.
vantages that make it possible to achieve the theoretical capacitance and           Over the past five years, in the research and development of current
high-speed performance of supercapacitors. The nickel hydroxide layer               collectors, the attention of the authors has been directed to obtaining
can reduce the pore size of commercial nickel foam from 300 µm to                   micro, flexible, stretchable, wearable and transparent supercapacitors
10–20 µm, which leads to a noticeable improvement in the performance                where large energy capacities are not needed. To improve properties
of the supercapacitor, while it demonstrates a maximum capacitance of               such as conductivity, power, rate and cycling stability, light weight and
3637F/g (active material is Ni(OH)2) at a current density of 1 A/g and              increased energy density are mainly dependent on the current collector
retains 97 % capacitance at a high current density of 100 A/g with a                along with the active material. Thus, studies of the influence of the
cyclic stability of>80 % after 10,000 cycles [79]. All these works point            current collector structure on the electrochemical properties of super­
to the obvious influence of micro- and nanostructures of the current                capacitors indicate that a nanostructured current collector has a number
collector on the electrochemical properties of the supercapacitor. A                of advantages associated with a high specific surface area and electrical
striking example is a massive current collector consisting of nickel                conductivity, which reduces the resistance to diffusion and ion transport
nanorods, i.e., the active material is in a thick layer of the current col­         in the electrolyte. However, the latest development trends are related to
lector. This structure makes it possible to create numerous conducting              3D structures, where the current collector and active material together
channels, which significantly reduces the contact resistance of the thick           form a complete 3D electrode. As with other energy storage devices,
electrode layer at their interfaces. At the same time, such current col­            supercapacitors are seeing a shift towards microsupercapacitors, which
lectors have a high specific capacitance exceeding more than sixfold that           are complex circuits that combine up to 130 supercapacitors into a
of nickel foil, which is 795F/g for an NN@MnO2 electrode with a MnO2                single circuit that outputs>100 V. Thus, for the development of a new
mass load of 0.054 mg/cm2 [80]. At the same time, an increase in the                generation of supercapacitors, it is necessary to conduct research on the
electrode load by a factor of 20 leads to a decrease in the gravimetric             materials and structures of current collectors in the following areas:
capacitance to 326F/g, but the areal capacitance increased>8 times; this
behavior indicates the important role of interfacial contacts between the           1. Despite numerous studies on the use of current collectors based on
active material and the current collector. When the active material is a               carbon materials and various polymers, which were considered as an
thick layer, the structure of the current collector must be selected                   alternative to metal current collectors, the problem of ensuring full
accordingly, that is, having a large specific area of interfacial contact.             contact between the current collector and the active material has not
However, massive current collectors and thick layers of active material                yet been solved. From this point of view, we believe that the ten­
have limitations associated primarily with their flexibility and me­                   dency to create an integral three-dimensional electrode that will act
chanical strength, as well as low energy density.                                      as both a current collector and an active material is a possible solu­
    It should be noted that a new trend in the field of current collectors is          tion to ensure good contact between the current collector based on
the use of paper as a flexible and efficient current collector due to its low          carbon materials and the active material.
cost, flexibility and the possibility of its modification with metals by            2. On the other hand, metal current collectors, unlike carbon materials,
various methods. Another trend is the creation of transparent super­                   attract special attention due to their high conductivity and low cost;
capacitors that replicate the structure of the bioinspired quasi-fractal               at the same time, they provide mechanical integrity and flexibility.
structure of leaf venation (LV), where a metal network acts as a cur­                  However, their use in water-based electrolytes limits metal current
rent collector (Fig. 4a, b) [81]. Such supercapacitors have excellent                  collectors. In the literature, there has been an increase in research
specific capacitance, which is 5.6 mF/cm2 with a transparency of 45 %                  aimed at improving metal current collectors by modifying both
[82]. Flexible and transparent supercapacitors are of particular interest              physicochemical methods and carbon material integration, which
for creating next-generation electronics for various applications, such as             help to suppress corrosion, improve interfacial contact and reduce
projection displays, biological sensors and smart devices [83]. Large-                 internal resistance. The use of methods such as laser irradiation and
scale production technologies for such transparent intelligent super­                  chemical and electrochemical deposition makes it possible to create
capacitors can be based on the use of a flexible and ultralight current                uniform layers of a given thickness and, accordingly, masses,
collector made of a 3D nickel microgrid and highly active Ni-Co bime­                  providing high porosity and improved adhesive properties.
tallic hydroxide as an active material [84]. Another example of a current
collector for a transparent supercapacitor is a lithographed silver mesh,           CRediT authorship contribution statement
which exhibits high optical transparency (~80.58 % at 550 nm), flexi­
bility and stability [85]. Meanwhile, transparent supercapacitors are                   Alisher Abdisattar: Conceptualization, Methodology, Writing –
characterized by low capacitance values, and their increase leads to a              original draft, Investigation. Mukhtar Yeleuov: Data curation, Super­
decrease in the optical transparency of the device, which limits their              vision, Writing – review & editing. Chingis Daulbayev: Conceptuali­
practical application.                                                              zation, Methodology, Writing – original draft, Investigation, Writing –
    Table 2 summarizes data on metal current collectors, including their            review & editing. Kydyr Askaruly: Supervision, Validation. Aidos

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                                     Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 10 of 12 PageID #: 120




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    Table 2
    Current collectors based on metal with various modifications.
     Year    Current collector    Active material        Capacitance          Impedance        Electrolyte              Method                        Rate capability     Cyclic stability   Flexibility or            Ref.
             (CC)                                                             (Rct and Rs,                                                                                                   Stretchability
                                                                              Ohm)

     2021    Al graphite          activated carbon       105.3F/g at 10       Rct ≈ 0.4        1 M Na2SO4               roll-to-roll coating          74 % retention      almost 100 %       –                         [68]
                                                         mV/s, 102.4F/g at                                              technology                    for 100 mV/s, 86    after 10,000
                                                         1 A/g                                                                                        % retention at 20   cycles
                                                                                                                                                      A/g
     2019    Cu                   manganese@carbon       208F/g at 5 mV/s     Rs + Rct < 9     0.25 M bis               electrochemical 3D printing   –                   –                  –                         [70]
                                  nanofibers                                                   (trifluoromethane)
                                                                                               sulfonimide lithium
     2020    graphene oxide       graphene hybrid        108F/g at 3 A/g      –                0.5 M H3PO4              alternating sequence of       –                   –                  70 % of retention after   [73]
             nano                 hydrogels                                                                             spray-coating                                                        10,000 stretching
             flakes@silver-                                                                                                                                                                  cycles with 40 %
             nanowire                                                                                                                                                                        elongation
     2018    Al                   activated carbon       110.1F/g at 0.1 A/   Rct = 7.3        1 M tetraethylammonium   picosecond laser processing   –                   91.5 % retention   –                         [74]
                                                         g                                     tetrafluoroborate in                                                       after 10,000
                                                                                               acetonitrile                                                               cycles
     2019    Ni                   activated carbon       210F/g at 0.5 A/g    Rct = 0.71       6 M KOH                  electrochemical etching       83 % retention at   89 % after                                   [76]
                                                                                                                        process                       20.0 A/g            10,000 cycles
     2019    Ni paper             MnO2                   1095 mF/cm2 at 1     Rs ≈ 1.0 Rct =   1 M Na2SO4               electroless deposition                            97.3 % after       sheet resistance is 2.7   [77]
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                                                                                                                                                      –
                                                         mA/cm2               5.5                                                                                         1000 cycles; 73    Ω/cm2 (Ro = 0.8
                                                                                                                                                                          % after 2000       Ω/cm2) after 5000
                                                                                                                                                                          cycles.            bending cycles
     2018    Cu@Ni /porous Ni     MnCo2O4                1280 mF/cm2 at 5     Rs = 1.4,        2 M KOH                  electroless plating and       –                   –                  –                         [78]
                                                         mA/cm2               Impedance <                               hydrogen bubble dynamic
                                                                              15                                        template electrodepostion
     2017    3D nickel            Ni(OH)2                3637F/g at 1 A/g     Rs = 1.32, Rct   1 M KOH                  electrodeposition             97 % retention at   80 % after         –                         [79]
                                                                              = 0.31                                                                  100 A/g             10,000 cycles
     2017    nickel nanorod       MnO2                   795F/g or 42 mF/     Rct = 3.25,      1 M Na2SO4               anodic aluminum oxide         –                   –                  –                         [80]
             arrays                                      cm2 at 5 mV/s        Impedance >                               template
                                                                              30
     2019    Au leaf venation     Polypyrrole            13 mF/cm2, at the    Impedance <      1 M LiCl                 leaf venation template        61.7 % retention    93 % after 1000    93.9 % capacity           [82]
                                                         current I = 0.1 mA   5                                                                       from 0.1 to 1 mA    GCD cycles         retention for 500




                                                                                                                                                                                                                              Electrochemistry Communications 142 (2022) 107373
                                                                                                                                                                                             bending cycles
     2021    3D Ni micromesh      Ni–Co bimetallic       75.58 µA⋅h/cm2 at    ESR = 0.75       2 M KOH                  photolithography and          60.6 % capacity     88.7 % after                                 [84]
                                  hydroxide              1 mA/cm2             Impedance >                               electrochemical deposition    retention from 1    2500 cycles,
                                                                              6                                                                       to 50 mA/cm2        81.4 % after
                                                                                                                                                                          6000 cycles
     2017    Ag-grid@PET          PEDOT: PS              2.79 mF/cm2 at       Rs ≈ 2           PVA/H3PO4                lithography and scrap         –                   92 % after         97.4 % after 1000         [85]
                                                         0.01 V/s, 0.85 mF/                                             techniques                                        10,000 cycles      cycles
                                                         cm2 at 1.00 V/s
        Case 2:23-cv-00334-JRG Document 1-6 Filed 07/14/23 Page 11 of 12 PageID #: 121
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